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American Medical Response, Inc. v. City of Stockton
United States District Court- Eastern District No. 2:05-CV-01316-DFL-PAN

WHITE DEPO PART 1
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IN THE UNITED STATES DISTRICT COURT

IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA

AMERICAN MEDICAL RESPONSE, INC.,
a Delaware Corporation,

Plaintiff,
No. 2:05-CV-01316-DFL-PAN
vs.

CITY OF STOCKTON, a California
Municipality

Defendants.

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)
AND RELATED CROSS ACTIONS )
)

DEPOSITION OF BRADLEY WHITE

DATE: Friday, August 12, 2005 at 9:00 a.m.

DEPOSITION OFFICER: BOBBIE JO HARR
CSR No. 6090, RMR

TAKEN AT:

GAROUTTE'S

120 North Hunter Street, Suite 104
Stockton, California 95202

GAROUTTE'S
Certified Shorthand Reporters
120 North Hunter Street, Suite 104
Stockton, California 95202
(209) 942-2100 or Nationwide (800) 942-2103
FAX (209) 942-2150

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BRADLEY WHITE,
the deponent herein, having been first duly and regularly
sworn by the Certified Shorthand Reporter, deposed and

testified as follows:

** EXAMINATION BY MR. HIGGINS **
MR. HIGGINS: Q. Good morning, sir. My name is
Mike Higgins. I represent the City of Stockton.

Would you please state your name, for the

record?

A. Brad White.

Q. Is Brad short for Bradley or Bradford?

A. Bradley Gerald White is my full name.

Q. Have you had your deposition taken before?

A. No.

Q. The procedure is pretty straightforward. I ask
questions, you answer questions. Your attorney from time
to time may interpose objections for the record.

Unless your attorney instructs you not to
answer a question, you should answer the question,
notwithstanding an objection being stated.
Do you understand that?
A. I'm not sure.
Q. Okay. I may ask a question and your attorney may

say that he objects to the question for some particular

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reason, but nothing more.

Then you answer the question.

A. Okay.

Q. Okay? I will make every effort to allow you to
finish your answer before I start a new question.

The court reporter can only transcribe what one
person says at a time. If we talk together, she can't
do her job. So we need to be careful.

Same thing with your attorney's objections. If
the two of you are speaking at the same time, if you're
answering and he's trying to object, the court reporter
can't do her job. So we need to try to separate the
question, the answer. And if there's an objection,
separate that.

A. Okay.

Q. Okay? If you don't understand one of my
questions, please let me know. If I mumble, if you are
just distracted and you didn't hear the entire question,
just tell me.

A. Okay.

Q. If you don't understand the question because it
doesn't make sense to you for some reason, please tell me.
I'll explore the issue and try to figure out where the
problem is and cure it, okay?

A. Okay.

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for

college?

AMR?

Q
A
Q
A
Q.
A
Q
A
Q

“Will you do that for me?

I can.

Okay. Did you attend college?

I attended a year at junior college:
And what junior college was that?
San Joaquin Delta.

Any other college that you attended?
No.

When was that that you attended junior college

one year?

A.

Q.

A.

Q.

A.

A.

Q.

Q
A
Q.
A
Q

1979.
You're almost as old as I am.
Almost.

What did you study that one year in junior

Emergency medical technician, advanced first aid.
Are you currently employed?

Yes.

Who is your employer?

American Medical Response.

Do you personally often refer to that company as

Yes.

If I refer to AMR during this deposition, will

you understand that I mean American Medical Response, your

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employer?
A. Yes, I will.
Q. Thank you.
How long have you worked for AMR?

A. Approximately 26 years.

Q. What was the first position you held at AMR?

A. It was a wheelchair van attendant.

Q. What's your current position?

A. Vice-president of Operations.

Q. For the entire United States?

A. I oversee our operations in the State of Hawaii,

and then for the areas of northern California, that would
include Shasta County, Sacramento County, Placer County,
Yolo County, San Joaquin County, Contra Costa County,
Stanislaus County, and Tulare County.

Q.- In any of those counties that you oversee, does

AMR have a joint relationship with a governmental entity

related to the provision of emergency medical services?

MR. DELEHUNT: Objection, vague and ambiguous,
calls for speculation.

You can answer the question.

THE WITNESS: Yes.

MR. HIGGINS: Q. Okay. In which counties that
you listed?

A. We have a contractual relationship in Stanislaus

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County with the Modesto Fire Department.

And in San Joaquin County with the Tracy Fire
Department, and in Sacramento County with the Sacramento
Metropolitan Fire Department.

I believe that's it.

Q. Okay. Did AMR collaborate in those three
counties with a governmental entity to respond to an RFP?

MR. DELEHUNT: Before you answer, vague and
ambiguous, calls for speculation.

THE WITNESS: Sacramento County, no. San Joaquin
County, no. Who did I miss? Modesto, no, which is
Stanislaus County.

MR. HIGGINS: Q. Have you personally ever been
involved in an effort to respond to an RFP for an
Exclusive Operating Area for ambulance services where AMR
worked jointly with some governmental entity to respond to
chat RFP?

MR. DELEHUNT: Objection, vague and ambiguous.

You can answer.

THE WITNESS: No.

MR. HIGGINS: Q. Did you work with the City of
Stockton, you personally, in an effort to respond jointly
to San Joaquin County RFP?

MR. DELEHUNT: Objection, vague and ambiguous.

THE WITNESS: Yes, we worked in various projects
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and had an agreement to agree to move forward with them on
an RFP process.

MR. HIGGINS: Q. So you worked jointly in some
fashion with the City of Stockton to respond to an RFP
that expected to issue in San Joaquin County; is that
correct?

MR. DELEHUNT: Objection, vague and ambiguous as
phrased.

You can answer.

THE WITNESS: Yes.

MR. HIGGINS: Q. How long have you been
Vice-president of Operations in this area of yours?

A. I returned -- I was the Vice-president of
Operations in the State of Hawaii beginning 1997 through
1993 -- excuse me, 2003. 1997 through 2003. And then I
returned to the California area roughly May of '03.

Q. When you were Vice-president of Operations in
Hawaii, were you ever personally involved in a joint
effort between AMR and a governmental entity to respond to
a proposal for exclusive operating rights for ambulance
services?

MR. DELEHUNT: Objection, vague and ambiguous.

You can answer.

THE WITNESS: We bid on government contracts. I

don't believe, if I'm understanding your question
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correctly, that we bid jointly with a government entity,

no.
MR. HIGGINS: Q. . But in Hawaii, you prepared
bids?
A. Yes.
Q. Okay. Is there a distinction in your terminology

between bidding and responding to an RFP?
MR. DELEHUNT: Vague and ambiguous, overbroad,

calls for speculation, lacks foundation.

THE WITNESS: There are bids where you can bid on

a various contract, and then Request for Proposal is a
government entity putting out a request for a proposal.
In Hawaii there were private proposals, too.

MR. HIGGINS:. Q. Do you, personally, refer to a
response to an RFP in California as a bid?

MR. DELEHUNT: Vague and ambiguous. Calls for
speculation, lacks foundation.

THE WITNESS: Could be a bid or REP.

MR. HIGGINS: Q. So you personally do sometimes
refer to a response to an RFP as a bid on the RFP?

MR. DELEHUNT: calls for speculation, lacks
foundation. Vague and ambiguous.

THE WITNESS: I'm not understanding what you're
looking for.

MR. HIGGINS: Q. I'm trying to understand your

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terminologies so that things can go easier moving forward
in the deposition. So that if the word "bid" on an RFP
comes up, I'm trying to determine whether in your
terminology, you personally, whether you sometimes use
that term.

For example, would you say right now that AMR
intends to respond to the RFP that the County of San
Joaquin has issued?

A. Yes.
Q. Okay. Would you ever refer -- you personally,
refer to that response as a bid?

MR. DELEHUNT: Objection, vague and ambiguous.

THE WITNESS: I could see me using in a sentence
that AMR intends to bid on the San Joaquin County REP.
MR. HIGGINS: Q. Okay. . Thank you.

To whom do you report. at AMR?

Chief Executive Officer Mr. Lou Meyer.

Do you ever report to Mr. Harvey?

Not directly.

What about Tim Dorn, do you report to him?
No.

Does he report to you?

No.

To whom does Mr. Dorn report?

so Pp oP oO PO

Mr. Lou Meyer.
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Q. And this -- this hierarchy, your reporting to Mr.
Meyer, has that been in place since you returned to
California in 2003?

A. Yes.

Q. What are your duties as Vice-president of
Operations in the area that you supervise?

A. I oversee six Directors of Operations who run
day-to-day operations of ambulance services throughout all
of the counties mentioned.

Q. And in this oversight capacity, what do you do?

A. Everything from assisting them with building
budgets, assuring they have any support they need for, you
know, purchasing, and anything that -- that's rubber to
the road for ambulances on the street.

Q. Do you have authority to negotiate contracts on
behalf of AMR?

MR. DELEHUNT: Objection, overbroad, vague and
ambiguous, calls for a legal conclusion.

You can answer it.

THE WITNESS: Mr. Meyer has ultimate authority
over any agreement. I do have authority to sit down and
negotiate, with Mr. Meyer being the final say.

MR. HIGGINS: Q. Okay. Mr. Meyer's deposition
was taken in this matter a couple days ago. And at that

time, he testified that currently you are working on a
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response to the RFP that is issued from San Joaquin
County.
Was he correct in that statement?
A. Yes.
Q. He testified. I asked, "How about Brad White,
what's he doing in connection?”
"He's also reviewing the credentialing
documents and contemplating strategy.”
I asked, "What kind of strategy is Mr. White
contemplating?”
And he testified, "Strategy that will make us
responsive to the RFP."
Were those true statements?
MR. DELEHUNT: Object to them as compound and

argumentative, but you can answer.

THE WITNESS: Currently what I'm doing today is

working with our RFP team to put together our RFP
proposal.

MR. HIGGINS: Q. And are you making strategic
decisions as part of this work?

MR. DELEHUNT: Objection, vague and ambiguous.

THE WITNESS: Yes.

MR. HIGGINS: Q. Have you put together responses

to RFPs in California before?

A. Yes, I have.

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Q. Okay. Have you made strategic decisions during
your work on other RFPs?

A. Can you define what you mean by strategic?

Q. A plan for a particular approach that you believe
would make the RFP proposal more likely to succeed.

A. Yes.

Q. Okay. And what types of strategic analysis,
generally speaking, do you bring to bear in this -- in
this procedure, in your -- preparing to respond to an RFP?

MR. DELEHUNT: The question is vague and
ambiguous, overbroad, lacks foundation.

You can answer it generally.

THE WITNESS: And I apologize, can you repeat the
question?

MR. HIGGINS: Can you read it back, please?

(Whereupon the record was read.)

THE WITNESS: What we are currently doing today,
is we have reviewed the RFP document that was released by
the San Joaquin County.

MR. DELEHUNT: Excuse me. Mr. White, I think the
question was general, if I'm understanding the question
that counsel asked. It did not relate to this particular
RFP that's being reviewed now. I think he's asking
generally.

The question can be read back again, if I
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speculation. Lacks foundation.

THE WITNESS: Not off the top of my head.

MR. HIGGINS: Q. What kinds of strategic
decisions have you been making in connection with the
current response to San Joaquin County RFP?

MR. DELEHUNT: Instruct you not to answer the
question.

MR. HIGGINS: On what ground? That's clearly
relevant to claims on the case.

MR. DELEHUNT: On the grounds that I have before,
it's confidential, proprietary information.

MR. HIGGINS: Q. Mr. White, do you consider the
strategic decisions that you've been making in connection
with the response to San Joaquin County RFP to be
proprietary confidential information?

A. Yes.

Q. So your current strategic analysis is sensitive
proprietary information?

A. Yes.

Q. Would it harm AMR if someone outside of AMR
learned about your strategic decisions in connection with
the current RFP response?

MR. DELEHUNT: That's vague and ambiguous. Calls
for speculation.

THE WITNESS: Yes.
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MR. HIGGINS: Q. How would it harm AMR?

MR. DELEHUNT: Same objections.

THE WITNESS: The strategies that we're providing
could be used by another competitor and propose something
that was better than what we were proposing.

MR. HIGGINS: Q.. How could a competitor use the
knowledge of your current strategies to improve its own
proposal to the RFP?

MR. DELEHUNT: Calls for speculation, vague and
ambiguous, lacks foundation. _

THE WITNESS: I don't know how another competitor
would approach that.

MR. HIGGINS: Q. But you think that that's so?

MR. DELEHUNT: Asked and answered, argumentative,
vague and ambiguous.

MR. HIGGINS: Q. You think that that's so, that
if a competitor obtained information about your current
strategic analysis in this RFP process, that that would
assist a competitor in making a better bid on this RFP?

MR. DELEHUNT: Calls for speculation, vague and
ambiguous, lacks foundation.

THE WITNESS: It could.

MR. HIGGINS: Q. It could. How could it?

MR. DELEHUNT: Asked and answered, calls for

speculation, vague and ambiguous, lacks foundation.
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THE WITNESS: I -- without an example, I'm not

sure how I could answer that.

MR. HIGGINS: Q. What makes you think that it
could lead to that? You testified under oath that you
think it could. Why do you think it could?

MR. DELEHUNT: Asked and answered, vague and
ambiguous, argumentative, lacks foundation, calls for
speculation.

THE WITNESS: I'm not sure how to speculate to
answer your question.

MR. HIGGINS: Q. Well, I'm not asking you to
speculate. I'm asking you to explain your answer. You
testified under oath that you believe that if a competitor
obtained information about. your strategic analysis right
now in this RFP process, that that could help that
competitor improve its own bid in response to the RFP.
I'm asking you how? What makes you think it could --

MR. DELEHUNT: Calls for speculation.

MR. HIGGINS: Q. -- help that competitor?

MR. DELEHUNT: Calls for speculation, vague and
ambiguous, lacks foundation.

THE WITNESS: I think, as I stated, that if
someone had my strategy, they could propose something
better than that.

MR. HIGGINS: Q. And how could they use your
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strategy to propose something better?

A. They would write in their proposal something
better.
Q. So they would know what you were going to do and

be able to act accordingly; is that correct?
MR. DELEHUNT: Calls for speculation, lacks
foundation, incomplete hypothetical, vague and ambiguous.
THE WITNESS: They could write something better

in their proposal.

strategic information, then they could take that into
account when they drafted their own bid; is that correct?
Is that what you're getting at?

MR. DELEHUNT: Vague and ambiguous, calls for
speculation, incomplete hypothetical, lacks foundation.

THE WITNESS: They could write something better
in their RFP proposal.

MR. HIGGINS: Q. What do you mean by "something
better"?

A. I don't know what you're -- the specific that

you're speaking to, so I don't know how to answer that.

Q. I'm not. I'm speaking specifically to your

your strategic analysis could help a competitor write

MR. HIGGINS: Q. Okay. So if they obtained your

understanding and belief. That's the specific issue here,

now. I'm asking what you mean about how this knowledge of

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something better? What do you mean, you?

MR. DELEHUNT: Calls for speculation, incomplete
hypothetical, vague and ambiguous, lacks foundation.

THE WITNESS: And I'm not sure how to answer you
any better other than they could write something in their
proposal that would be better than ours.

MR. HIGGINS: Okay. Well, clearly your client
has no explanation as to why this is sensitive proprietary
information. And we should move ahead and allow him to
answer questions on the issue.

MR. DELEHUNT: He's not going to.

MR. HIGGINS: Why not?

MR. DELEHUNT: Because I instructed him not to,
and I stated the basis of my instruction. He's not going
to answer these questions.

MR. HIGGINS: Okay. It is relevant, and it is
not privileged. He has an obligation to answer these
question.

MR. DELEHUNT: You can argue all you want. I've
instructed him not to answer on the basis that they are
trade secret, they're proprietary information.

MR. HIGGINS: What trade secrets generally are at
issue here?

MR. DELEHUNT: I'm not going to argue it with

you. I'm not going to debate it with you. I've stated my
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position. I've stated my objection. That's it.

MR. HIGGINS: Under California Law of Privilege,
you have to identify the trade secrets.

MR. DELEHUNT: I've stated my objection. I've
stated my position. Move on.

MR. HIGGINS: Q. When did you first become aware
that San Joaquin County government was considering issuing
an RFP for an Exclusive Operating Area for emergency
ambulance services?

A. That would have around the time -- well, when I
came back from the State of Hawaii, which was May-ish of
"03.

Q. Okay. At that time when you -- in 2003, when you
came back to the State of California, did anyone at AMR
tell you that AMR was considering working with the City of
Stockton to respond to that RFP?

A. Yes.

Q. Okay. ‘Who told you?

A. I believe it would have been Mr. Lou Meyer.

Q. Mr. Meyer tell you this before you actually
returned to California?

A. I don't believe so.

Q. Okay. So after you came back to California and
settled in, then you spoke to Mr. Meyer and he told you

that AMR was considering working with the City of Stockton
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to respond to the RFP?
A. Yes.

Q. Was this in a face-to-face meeting that he told

A. I don't recall.

Q. Was it very soon after you returned to California
that Mr. Meyer told you this?

A. Yes.

Q. Did Mr. Meyer tell you that you personally were
going to be working on this project with the City of
Stockton to respond to the RFP?

A. Not that I recall. But by taking over the
County, that would be a given.

Q. Okay. And do you remember the first meeting that
you ever had with anyone from the City of Stockton to
discuss AMR and the City collaborating in an effort to

respond to the RFP?

A. Yes.
Q. When was that meeting?
A. It would be roughly somewhere between May and

June of 2003.

Q. At the time that you returned to California to
take over this Vice-president of Operations position in
California that you now own, was there a written Agreement

between the City of Stockton and AMR related to their
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joint effort to respond to the REP?

A. There was a document being negotiated at the
time.

Q. Were you involved in those negotiations?

A. I attended one, possibly two, which were the very

last meetings where they were negotiating the MOU.

Q. The first of these meetings that you attended,
where was the meeting held?

A. It was at a conference room at City Hall.

Q. Who was present?

A. On AMR's side, Lou Meyer, myself, Mike Hakeem,

Donna McCann from A-One Ambulance. Chief Gillis.

Q. Okay. That's fine. You're moving on beyond the
AMR side.

A. Correct.

Q. Okay.

A. Chief Gillis from the Stockton Fire Department,
Chief Hafey, Stockton Fire Department. Ed Rodriguez from
the Stockton Fire Department may have been there. There
was a City Attorney that came in, and I don't remember.
It may have been Mr. Rishwain.

That's all I recall.
Q. Do you remember when this meeting was?
A. I don't remember exact dates.

Q. Was it in April of 2003?
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A.

Q.

contract

be how I

A.

contract

observed.

Could have been.

How long was the meeting? How long did it last?
One to two hours.

And was it your understanding that the terms of a
were being negotiated at this meeting?

MR. DELEHUNT: Calls for a legal conclusion.

You can answer.

THE WITNESS: I was an observer, basically, would

would describe my role in that meeting. I was so

new coming back, moving my family back and forth, I'm not

sure what the -- what the tenets were at that time.

MR. HIGGINS: Q. But I'm asking you for what you

Did you observe people at that meeting

negotiating terms of a contract?

MR. DELEHUNT: Calls for a legal conclusion.
You can answer.

THE WITNESS: What I believe I was watching was

three entities negotiating a very high-level Agreement to
agree that would require further Agreements down the road

to move forward into an RFP process.

MR. HIGGINS: Q. Did you see anyone taking notes

at that meeting?

There was a time when Chief Hafey had the

up on a screen on a PowerPoint presentation, and

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he was typing in to the Agreement.

Q. Okay. So there was a screen and projection of a
contract?

A. There was a MOU being projected.

Q. And Chief Hafey was typing while this projection
was on the screen?

A. Correct.

Q. And things that Chief Hafey typed showed up on
the screen?

A. (Nods head).

Q. You have to speak up so the court reporter can
transcribe it.

A. I'm sorry. That's my recollection.

Q. So there would be discussion about something, and
then someone would tell Chief Hafey to type that into the
computer so it would show up on the screen?

MR. DELEHUNT: Assumes facts not in evidence.
THE WITNESS: I don't recall.
MR. HIGGINS: Q. Other people in the room were

discussing terms, and Chief Hafey was typing; is that’

correct?
A. There were terms being discussed of the MOU.
Q. Okay. But other people in the room were

discussing it, right?

A. Yes.
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Q. Okay. Do you remember who in particular in that
room was discussing the terms of the MOU?

A. rt was my perception there were attorneys
discussing different points. Mr. Meyer and Chief Gillis,
and Chief Hafey certainly had input also.

Q. And you had no input, at all?

A. I don't recall having specific input.

Q. Okay. And do you recall whether the process
involved discussion and then reaching some consensus on a
particular. language and Mr. Hafey typing that language in?

MR. DELEHUNT: Calls for speculation, vague and
ambiguous.

THE WITNESS: Yes.

MR. HIGGINS: Q. Okay. Did Mr. Meyer
participate in these discussions about particular language
to put into the document that was projected on the screen?

A. Yes.

Q. Which provisions in the contract did Mr. Meyer
discuss with the others?

A. I don't recall specifically.

Q. Do you recall any discussion at that meeting
about first responder fees?

A. If I have the document, I could --

Q. Okay. We can look at it later.

Sitting here without a document in front of
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you, you don't have any independent recollection of
"discussion about first responder fees?

A. I know that there's discussion of that in the
document. I don't recall the discussion that was going on
about it.

Q. Okay. .Do you remember any discussion about
creating, quote, "marriage between the parties"?

MR. DELEHUNT: Calls for speculation, vague and
ambiguous.

THE WITNESS: No.

MR. HIGGINS: Q. Do you remember anyone using

the term "marriage" to describe the relationship?

A. I don't recall.

Q. Somebody may have, you just don't recall?

A. I just don't recall.

Q. Do you recall any discussion about a provision in

the contract that would preclude anybody who entered into
the contract from bidding on the RFP if that party
withdrew from the relationship? |

MR. DELEHUNT: Calls for a legal conclusion,
speculation.

You can answer it is.

THE WITNESS: I apologize. Can you repeat that?

MR. HIGGINS: Q. Yeah. Do you remember any

discussion at this meeting about a term -- a proposed term
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